                                              0-10-498
                                                                                        Filed 10/26/2016 4:49:37 PM
                                                                                                      Beverly Wilson
                                                                                                        District Clerk
                                                                                                 Leon County, Texas
                                                                                                    Alex Earley

                                          I~[~~1~[IaL~:3

RIPPY OIL COMPANY,RIPPY INTEREST §                          IN THE DISTRICT COURT OF
LLC,THE GENECOV GROUP,INC., And  §
JOHN D.PROCTOR,                  §

        PLAINTIFFS                              §

VS.                                             §           LEON COUNTY,TEXAS

KNIGHT OIL TOOLS,INC., And                      §
PIONEER DRILLING COMPANY,                       §

        DEFENDANTS                              §            278`h JUDICIAL DISTRICT

                 PLAINTIFFS' FIRST AMENDED ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW,RIPPY OIL COMPANY("RIPPY OIL")on its own behalf, and on behalfof

all working interest owners,to-wit: Rippy Interest LLC;and The Genecov Group,Inc., and John D.

Proctor(hereinafter sometimes referred to as Plaintiffs)complaining ofKNIGHT OIL TOOLS,INC.

now known as Knight Oil Tools LLC ("KNIGHT OIL TOOLS") and PIONEER DRILLING

COMPANY("PIONEER")hereinafter sometimes referred to as Defendants,and for cause ofaction,

would show the Court the following:

                                                I.

                                      DISCOVERY PLAN

        Plaintiffs request that the discovery in this case be conducted under Leve13.

                                               II.

                                            PARTIES




      17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 1 of 27
        Plaintiff, RIPPY OIL, is a Texas corporation with its principal place of business in Tyler,

Smith County, Texas. Rippy Oil brings suit on its own behalf and on behalf of all working interest

owners, to-wit: Rippy Interest LLC; The Genecov Group,Inc., and John Procter.

       Plaintiff, RIPPY INTEREST LLC, is a Texas limited liability company with its principal

place of business in Tyler, Smith County, Texas.

       Plaintiff, THE GENECOV GROUP,INC.,is a Texas corporation with its principal place of

business in Tyler, Smith County, Texas.

       Plaintiff, John D. Proctor, is an individual residing in Tyler, Smith County, Texas.

       Defendant, KNIGHT OIL TOOLS, INC., now KNIGHT OIL TOOLS LLC,(Knight Oil

Tools) is a Louisiana corporation and now a limited liability company authorized by the Texas

Secretary ofState to do business in Texas and doing business in Texas. Knight Oil Tools' principal

place of business in Texas is Houston, Harris County, Texas. Knight Oil Tools can be served with

process by serving its registered agent Timothy R. Brown at 333 Clay Street, Suite 3300, Houston,

Texas 77002. Defendant Knight Oil Tools,Inc has made an appearance and is being served with this

First Amended Petition by serving its attorney of record.

       Defendant, PIONEER DRILLING COMPANY,(Pioneer Drilling) is a Texas corporation

with its principal place ofbusiness in Texas and can be served with process by serving its registered

agent CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas, Dallas County, Texas

75201. Defendant Pioneer Drilling Company has made an appearance and is being served with this

First Amended Petition by serving its attorney of record.




                                                 2




     17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 2 of 27
                                  JURISDICTION AND VENUE

       This Court has jurisdiction over the subject matter of this lawsuit because the amount in

controversy is in excess of the minimal jurisdictional limits of the Court. The Court has personal

jurisdiction over Defendants, because they have purposely availed themselves ofthe privileges and

benefits of conducting business in Texas pursuant to §17.042 of the Texas Civil Practice &

Remedies Code,have engaged in business in Texas by providing services to Texas residents, which

services were to be performed in whole or in part in Texas, and the cause of action made the basis

of this suit arises out of Defendants' contacts with and in the state of Texas.

       Venue is proper in Leon County,Texas pursuant to the provisions of§§ 15.001, 15.002(a)(1)

ofthe Texas Civil Practice &Remedies Code because Leon County is the county in which all or a

substantial part of the events or omissions giving rise to the claim occurred.

                                                 ~i~


                                     FACTUAL SUMMARY

        At all times mentioned below,Plaintiff Rippy Oil Company was,and is now,engaged in the

oil and gas business, including the exploration, drilling, and production of hydrocarbons.

        At all times mentioned below, Defendant Knight Oil Tools was,and is now,engaged in the

business ofproviding drilling services including supplying drill pipe and inspection services through

its wholly owned,supervised,and captured in-house inspection division Robinson Tubular Services

Inc., a Knight Oil Tools company,which merged effective Apri14,2011 into Knight Oil Tools LLC

the successor in interest to Knight Oil Tools Inc. which was also merged into Knight Oil Tools LLC

in Apri12011. Knight Oil Tools LLC assumed all liabilities and obligations of Robinson Tubular




     17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 3 of 27
Services Inc. and Knight Oil Tools Inc. in Apri12011 including liabilities for the drill pipe failure

made the basis of this lawsuit.

        At all times mentioned below, Defendant Pioneer Drilling was, and is now, engaged in the

business of providing drilling services including the use of drill pipe.

        Heretofore, Defendants provided Plaintiff certain drilling services, sales, and rentals

including the supplying and rental ofdrill pipe by Defendant Knight Oil Tools for which Defendants

have invoiced Plaintiffs in excess of the minimum jurisdictional limits of this Court. Plaintiffs

sought the drilling services and drill pipe for use in their well known as the Easterling No. 1-H well

located in Leon County, Texas. The Easterling No. 1-H well was one of the first of a multi-well

program planned for the Aguila Vado (Eagleford Shale) Field discovered by Rippy Oil Company

which comprised approximately 14,000 acres in Leon County.Plaintiffs acquired its mineral acreage

at an average cost well below the mineral acreage costs subsequent to Plaintiffs successful discover

ofthe Aguila Vado Field.

        The drill pipe supplied and delivered by Defendant Knight Oil Tools to Plaintiffs for

utilization by drilling contractor, Defendant Pioneer Drilling, was represented to be API inspected,

API Premium Class, 3 /
                     1 2" O.D. 13.30-PPF Grade S-13S drill pipe with API Premium Class IF or



NC38 tooljoints designated by center punch mark on pin upset and two white bands around pin end

pipe body and accompanying inspection report(hereinafter "drill pipe" or "drill pipe in question"),

that was safe, suitable, and fit for use in the horizontal drilling of Plaintiffs' well. Indeed, after

allegedly performing the appropriate API inspection pursuant to API Recommended Practice 7G

and/or 7G - 2, Defendant Knight Oil Tools marked the drill pipe in question as API Premium with

one center punch and two painted double white bands only and no other color paint band or bands




     17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 4 of 27
on the drill pipe tooljoint. Defendant Knight Oil Tools also represented that drill pipe including tool

joints had been inspected. Drill pipe marked with one center punch and painted with two double

white bands conveys a well established industry representation to users of drill pipe in the oil and

gas business that the drill pipe including tool joints, has been inspected and found to be API

Premium Class. Defendant Knight Oil Tools knew or in the exercise of ordinary care should have

known that one center punch and two painted double white bands conveyed and represented to the

user that the drill pipe in question was API inspected and API Premium Class and met certain

qualities, characteristics, and capacities that made the drill pipe suitable for use in drilling horizontal

wells. Defendant Knight Oil Tools knew that Plaintiffs' drilling consultant and Defendant Pioneer

Drilling would be relying on the one center punch and/or double white bands and accompanying

inspection papers as a representation that the drill pipe in question was API inspected and API

premium class drill pipe,that was safe,suitable,and fit for use in the horizontal drilling ofPlaintiffs'

well.

        At the time the drill pipe was distributed and supplied, Defendants knew or had reason to

know the purpose for which Plaintiffs sought the drill pipe and drilling services and that Plaintiffs

were relying on Defendants to furnish drill pipe and drilling services suitable and fit for that purpose.

        On or about May 11, 2010, Defendant Pioneer Drilling was utilizing the drill pipe supplied

and represented to have been API inspected and API Premium Class by Defendant Knight Oil Tools

during normal drilling operations and well within the capacity ofAPI Premium Class drill pipe. The

drill pipe was being utilized well within the capacity, capabilities, and operating parameters of API

Premium Class drill pipe, when the drill pipe supplied by Defendant Knight Oil Tools

catastrophically failed, destroying a valuable portion ofthe Easterling No. 1-H well which prevented


                                                    5




     17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 5 of 27
its completion and subsequent production of oil reserves from the target intervals Plaintiffs had

successfully penetrated with the Easterling No. 1-H well bore. Plaintiffs made every effort to

mitigate their damages by attempting to fish the failed drill pipe, separated drill pipe string, bottom-

hole assembly,and drill bit damaged and lost in the hole after notifying Defendant Knight Oil Tools

ofthe drill pipe failure. Despite efforts to salvage same,Plaintiffs could not reproduce the Easterling

No. 1-H well with resulting loss of well bore and hydrocarbon reserves, and drilling equipment

damaged and lost down hole and charged to Plaintiffs, all of which caused Plaintiffs to suffer

damages set forth below in excess ofthe minimum jurisdictional limits of this Court.

                                                  \~~

                  NEGLIGENCE AND NEGLIGENT MISREPRESENTATION

        Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under "Factual

Summary." Defendants were negligent in the selection, inspection, labeling, marking, distribution,

representation, and use ofthe drill pipe in question. Defendants' negligence was a proximate cause

of Plaintiffs' damages. Discovery is continuing, and Plaintiffs cannot more specifically allege the

specific acts of negligent inspection, distribution, representation, and utilization ofthe drill pipe in

question on the part ofDefendants at this time because facts in that regard are particularly within the

knowledge of Defendant Knight Oil Tools before delivery ofthe drill pipe(and after its return)and

Defendant Pioneer Drilling after delivery ofthe drill pipe to the Easterling No. 1-H well-site. In the

alternative, in the event Plaintiffs are unable to prove specific acts of negligent inspection,

distribution,representation,and utilization ofthe drill pipe in question,Plaintiffs rely on the doctrine

ofres ipsa loquituN. In this connection, Plaintiffs would show that the character ofthe occurrence

giving rise to this litigation is such that it would not have happened in the absence ofnegligence, and


                                                   D



     17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 6 of 27
the inspection, supply, distribution, representation, and use ofthe drill pipe in question was within

the exclusive control of Defendants at the time the negligence probably occurred.

        Additionally, Defendant Knight Oil Tools initially represented that it would supply API

inspected, API Premium Class drill pipe to Plaintiffs. Defendant Knight Oil Tools undertook to

obtain and provide API inspected and API Premium Class drill pipe. Defendant Knight Oil Tools

failed to exercise reasonable care to secure API inspected and API Premium Class drill pipe,that was

safe, suitable, and fit for use in the horizontal drilling of Plaintiffs' well. Indeed, the drill pipe

supplied by Defendant Knight Oil Tools was not properly API inspected or labeled, was not API

Premium Class, had undersized O.D. and I.D. tool joints that also exceeded maximum I.D. for API

Premium Class drill pipe, and was excessively worn,corroded, pitted, and cracked before it arrived

at the Easterling No. 1-H well-site which rendered the drill pipe unsafe, unsuitable, and unfit for the

use of the horizontal drilling of Plaintiffs' well. Defendant Knight Oil Tools knowingly supplied

Plaintiffs with false and/or misleading information,including but not limited to,the fact that the drill

pipe was API inspected and API Premium Class as signified by the false inspection papers, one

center punch mark,and painted double white bands on each joint of drill pipe delivered to the well-

site including the drill pipe that failed. Plaintiffs relied on the representation and undertaking by

Defendant Knight Oil Tools in using the drill pipe. Defendant Knight Oil Tools did not exercise

reasonable care or competence in selecting, inspecting, marking, labeling, representing, or

communicating information about the drill pipe. If the drill pipe had been as represented by

Defendant Knight Oil Tools,Plaintiffs would not have suffered the damages Plaintiffs suffered. The

negligence and negligent misrepresentation of Knight Oil Tools in this regard and to be proved at

trial was a proximate cause of Plaintiffs' damages.


                                                   7




     17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 7 of 27
        Moreover,Defendant Pioneer Drilling undertook to visually inspect the drill pipe in question

before using same and to notify Plaintiffs of any apparent defects therein. Defendant Pioneer

Drilling failed to notify Plaintiffs ofany visual defects in the drill pipe in question until after the drill

pipe had failed in the well. After the drill pipe failure, it was determined that the drill pipe supplied

by Defendant Knight Oil Tools was not properly API inspected or labeled, was not API Premium

Class, had undersized O.D. and I.D. tool joints that also exceeded the maximum I.D. for API

Premium Class drill pipe and was excessively worn, corroded, pitted, and cracked which rendered

the drill pipe unsafe, unsuitable, and unfit for use in the horizontal drilling of Plaintiffs' well.

Defendant Pioneer Drilling represented that it would perform a visual inspection ofthe drill pipe in

question. Plaintiffs relied on the representation and undertaking by Defendant Pioneer Drilling. If

Defendant Pioneer had discharged its representation and undertaking, Plaintiffs would not have

suffered the damages Plaintiffs suffered. Defendant Pioneer Drilling's negligence and negligent

misrepresentation in this regard was a proximate cause of Plaintiffs' damages including amounts

Defendant Knight Oil Tools seeks to recover from Plaintiffs.

        Defendants' negligence and negligent misrepresentation as set out above was a proximate

cause of injury to Plaintiffs, which resulted in the following damages: cash market value damages

for destruction ofthat portion ofthe Easterling No. 1-H well which is the market value ofthe well

less any salvage value, because reproducing that portion ofthe well is impossible and the cost would

exceed its value due to the irreparable damage occasioned to that portion of the well. In the

alternative, should the trier of fact find that the Easterling No. 1-H well could be reproduced,

Plaintiffs are entitled to recover the reasonable and necessary cost to reproduce the Easterling No.

1-H well. Additionally,Defendants' negligence and negligent misrepresentation proximately caused




     17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 8 of 27
direct and/or consequential damages including the loss of the Easterling No. 1-H lateral well bore

and hydrocarbon reserves,the additional drilling costs incurred following the drill pipe separation,

and the total loss of the drill bit, bottom-hole assembly, and other rental equipment lost down hole

all of which damages were legally caused by the drill pipe failure and Defendants' breach of legal

duties owed Plaintiffs.

                                                VI.

                          STRICT LIABILITY/ PRODUCT LIABILITY

       Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under "Factual

Summary," and the causes of action asserted in Paragraph V under "Negligence and Negligent

Misrepresentation."

       Defendant Knight Oil Tools engaged in the business of designing, manufacturing,

constructing, rebuilding, fabricating, processing, assembling, and marketing drill pipe for use (by

drilling contractors, mineral interest owners, and operators) in drilling oil and gas wells including

lateral on horizontal wells.

       The drill pipe in question that was placed in the stream of commerce and distributed by

Defendant Knight Oil Tools was defective and unsafe for its intended purpose at the time it left the

control of Defendant Knight Oil Tools and at the time it was delivered to Plaintiffs' well-site. The

drill pipe in question was defective in that it failed to conform to its design, specifications, and

represented qualities and characteristics, was not properly API inspected or labeled, was not API

Premium Class, had undersized O.D. and I.D. tool joints that also exceeded the maximum I.D. for

API Premium Class drill pipe and was excessively worn, corroded, pitted, and cracked which

rendered the drill pipe unsafe, unsuitable, unfit, and unreasonably dangerous for use in drilling of


                                                  G~




     17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 9 of 27
Plaintiffs' well. The drill pipe in question was in the same or substantially same condition at the time

it failed as it was when it was originally distributed by Defendant Knight Oil Tools to the Easterling

No. 1-H well-site. Defendant Knight Oil Tools' defective drill pipe was the producing cause of

Plaintiffs' damages: cash market value damages for destruction ofthat portion ofthe Easterling No.

1-H well which is the market value of the well less any salvage value, because reproducing that

portion ofthe well is impossible and the cost would exceed its value due to the irreparable damage

occasioned to that portion of the well. In the alternative, should the trier of fact find that the

Easterling No. 1-H well could be reproduced, Plaintiffs are entitled to recover the reasonable and

necessary cost to reproduce the Easterling No. 1-H well. Additionally, Defendants' negligence and

negligent misrepresentation proximately caused direct and/or consequential damages including the

loss ofthe Easterling No. l-H lateral well bore and hydrocarbon reserves,the additional drilling costs

incurred following the drill pipe separation, and the total loss ofthe drill bit, bottom-hole assembly,

and other rental equipment lost down hole all of which damages were legally caused by the drill pipe

failure and Defendants' breach of legal duties owed Plaintiffs.

        Moreover,although Defendant Knight Oil Tools was notthe manufacturer ofthe drilling pipe

in question, Defendant Knight Oil Tools is a "manufacturer" as defined by § 82.001(4) and is

nevertheless liable for product liability under Chapter 82 of the Texas Civil Practice &Remedy

Codes as a "seller" pursuant to § 82.001(3). Specifically, Defendant Knight Oil Tools as seller is

liable to Plaintiffs pursuant to § 82.003(a)(2),(4),(5),(6) and (7).




                                                   10




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 10 of 27
                                                VI.

                       BREACH OF EXPRESS WARRANTY OF GOODS

       Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

"Factual Summary." Defendant Knight Oil Tools distributed, sold, rented, and/or otherwise

placed in the stream of commerce for commercial purposes and use by Plaintiffs the above-

described drill pipe. Defendant Knight Oil Tools made a representation to Plaintiffs about the

quality of the drill pipe. Specifically, Defendant Knight Oil Tools represented that the drill pipe

supplied and utilized in drilling the Easterling No. 1-H well was API inspected, API Premium

Class drill pipe that was safe, suitable, and fit for use in the horizontal drilling of Plaintiffs' well.

Among other representations, Defendant Knight Oil Tools marked the drill pipe and distributed

same with one center punch mark and double white painted bands only. Defendant Knight Oil

Tools also presented a false inspection report with delivery of the drill pipe.

        Defendant Knight Oil Tools made the representation as an affirmation of fact. Moreover,

Defendant Knight Oil Tools possessed superior knowledge and it is an actionable statement of

fact when made, as it was here, by Defendant Knight Oil Tools who knew, or should have

known, Plaintiffs were justifiably relying on its superior knowledge. The drill pipe did not

comply with Defendant Knight Oil Tools' representations in that the drill pipe was not properly

API inspected or labeled and was not API Premium Class, but instead had undersized O.D. and

I.D. tool joints that also exceed the maximum I.D. and was excessively worn, corroded, pitted,

and cracked, which was a breach of Defendant Knight Oil Tools' express warranty. Plaintiffs

notified Defendant Knight Oil Tools ofthe breach of the express warranty.




                                                    11




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 11 of 27
       Defendants' breach of warranty directly and proximately caused injury to Plaintiffs,

which resulted in the following damages: cash market value damages for destruction of that

portion ofthe Easterling No. 1-H well which is the market value of the well less any salvage

value, because reproducing that portion ofthe well is impossible and the cost would exceed its

value due to the irreparable damage occasioned to that portion of the well. In the alternative,

should the trier of fact find that the Easterling No. 1-H well could be reproduced, Plaintiffs are

entitled to recover the reasonable and necessary cost to reproduce the Easterling No. 1-H well.

Additionally, Defendants' breach of warranty proximately caused direct and/or consequential

damages including the loss ofthe Easterling No. 1-H lateral well bore, hydrocarbon reserves, the

additional drilling costs incurred following the drill pipe separation, and the total loss ofthe drill

bit, bottom-hole assembly, and other rental equipment lost down hole all of which damages were

legally caused by the drill pipe failure and Defendant Knight Oil Tools' breach of express

warranty.

                                                 VII.

            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY AND
                      FITNESS FOR A PARTICULAR PURPOSE

        Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

"Factual Summary". In the alternative, Plaintiffs would show that Defendant Knight Oil Tools

was a seller and distributor of the drill pipe rented and distributed to Plaintiffs.

        The drill pipe was unmerchantable when Defendants tendered it to Plaintiffs because it

was not properly API inspected or labeled and was not API Premium Class, but instead had

undersized O.D. and I.D. tool joints, that also exceeded the maximum I.D. for API Premium,.



                                                   12




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 12 of 27
Class drill pipe and was excessively worn, corroded, pitted, and cracked, to the extent that it

would not withstand customary drilling activity, with the operational capacity of API Premium

Class drill pipe, which is a breach of implied warranty of merchantability.

       Plaintiffs notified Defendants of the breach of the warranty of merchantability.

       Defendants' breach of implied warranty of merchantability directly and proximately

caused injury to Plaintiffs, which resulted in the following damages: cash market value damages

for destruction ofthat portion of the Easterling No. 1-H well, which is the market value ofthe

well less any salvage value, because reproducing that portion of the well is impossible and the

cost would exceed its value due to the irreparable damage occasioned to that portion of the well.

In the alternative, should the trier of fact find that the Easterling No. 1-H well could be

reproduced, Plaintiffs are entitled to recover the reasonable and necessary cost to reproduce the

Easterling No. 1-H well. Additionally, Defendants' breach of warranty proximately caused direct

and/or consequential damages to include the loss of the Easterling No. 1-H lateral well bore,

hydrocarbon reserves, the additional drilling costs incurred following the drill pipe separation,

and the total loss ofthe drill bit, bottom-hole assembly, and other rental equipment lost down

hole all of which damages were legally caused by the drill pipe failure and Defendant Knight Oil

Tools' breach of warranty.

        Further, Defendant Knight Oil Tools distributed the drill pipe in question knowing that

Plaintiffs sought the drill pipe for use in drilling its well. Defendant Knight Oil Tools knew that

Plaintiffs were relying on Defendant Knight Oil Tools' skill or judgment to select, inspect, and

classify drill pipe fit for API Premium Class designation, identified by one center punch and

double white bands, for the intended purpose. Defendants delivered and utilized drill pipe that


                                                  13




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 13 of 27
was not properly API inspected and labeled; was not API Premium Class as noted above; was not

acceptable or worthy to receive one center punch and be painted with double white bands only;

and was so defective and flawed because of excessive wear, corrosion, pitting, and cracking that

the drill pipe was unfit for use in any drilling including horizontal drilling.

        Plaintiffs notified Defendants ofthe breach ofthe warranty of fitness for a particular

purpose.

        Defendants' breach of implied warranty of fitness for a particular purpose directly and

proximately caused injury to Plaintiffs, which resulted in the following damages:

        Cash market value damages for destruction of that portion of the Easterling No. 1-H we11      1




which is the market value of the well less any salvage value, because reproducing that portion of

the well is impossible and the cost would exceed its value due to the irreparable damage

occasioned to that portion of the well. In the alternative, should the trier of fact find that the

Easterling No. 1-H well could be reproduced, Plaintiffs are entitled to recover the reasonable and

necessary cost to reproduce the Easterling No. 1-H well. Additionally, Defendant Knight Qil

Tools' breach caused direct and/or consequential damages to include the loss of the Easterling

No. 1-H lateral well bore and hydrocarbon reserves, the additional drilling costs incurred

following the drill pipe separation, and the total loss of the drill bit, bottom-hole assembly, and

other rental equipment lost down hole all of which damages were legally caused by the drill pipe

failure and Defendant Knight Oil Tools' breach of warranty of merchantability and fitness for a

particular purpose.




                                                   14




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 14 of 27
                                                VIII.

            VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

       Plaintiffs incorporate herein by reference the factual allegations contained in the

preceding Paragraphs V, VI, VII, as well as those allegations set forth in Paragraph IV under

"Factual Summary".

       Defendant Knight Oil Tools engaged in certain false, misleading and deceptive acts,

practices and/or omissions actionable under the Texas Deceptive Trade Practices -Consumer

Protection Act(Tex. Bus. &Comm.Code § 17.41 et. seq.) as alleged herein.

       Defendants violated § 17.46(b) of the Texas Business &Commerce Code in that

Defendants:

       a.      represented that goods (drill pipe) were of a particular standard, quality or grade,
               or that goods are of a particular style or model ,when they are of another;

       b.      represented that goods (drill pipe) had approval, characteristics or uses that they
               did have not have;

       c.      failed to disclose information about goods (drill pipe)that was known at the time
               of the transaction with the intention to induce Plaintiff into a transaction it
               otherwise would not have entered into if the information had been disclosed for
               the benefit of others, including the Plaintiffs;

       d.      caused confusion or misunderstanding as to the source, sponsorship, approval or
               certification of goods or services. (drill pipe and inspection of same).

        As described above in Paragraphs V, VI, and VII, these acts, practices and/or omissions

by Defendant Knight Oil Tools were false, misleading and deceptive. As previously described,

Plaintiffs relied upon all of these acts, practices, and/or omissions to their detriment, and they

were a producing cause of damages to Plaintiffs.




                                                  15




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 15 of 27
       Moreover, Defendant Knight Oil Tools have violated Texas Business &Commerce Code

§ 17.50 by breaching the express and implied warranties described above in Paragraphs VI and

VII.

       The acts, practices, and/or omissions made by Defendant Knight Oil Tools and the

warranties breached by Defendant Knight Oil Tools were a producing cause of Plaintiffs'

damages in an amount in excess of the minimum jurisdictional limits of this Court.

       The acts, practices and/or omissions made by Defendant Knight Oil Tools as described

above were committed knowingly. Defendant Knight Oil Tools was actually aware, at the time

of their conduct, of the falsity and deception about which Plaintiffs are complaining. Moreover,

Defendant Knight Oil Tools were aware ofthe conditions, defects or failures which constitute the

breaches of warranties described above.

       Plaintiffs would further assert the applicability of Section 17.42 ofthe Texas Business

and Commerce Code and that any attempt by Defendant Knight Oil Tools to assert waiver

release, limitation of liability, indemnity, or other alleged exculpatory defenses are contrary to

public policy, unenforceable, and void.

        Defendant Knight Oil Tools' violation of the Texas Deceptive Trade Practices Act was a

proximate and/or producing cause of injury to Plaintiffs which resulted in the following damages:

cash market value damages for destruction of that portion ofthe Easterling No. 1-H well which is

the market value of the well less any salvage value, because reproducing that portion of the well

is impossible and the cost would exceed its value due to the irreparable damage occasioned to

that portion of the well. In the alternative, should the trier of fact find that the Easterling No. 1-H

well could be reproduced, Plaintiffs are entitled to recover the reasonable and necessary cost to


                                                  16




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 16 of 27
reproduce the Easterling No. 1-H well. Additionally, Defendants' violation of the Texas

Deceptive Trade Practices Act was a producing and/or proximate cause of direct and/or

consequential damages including the loss of the Easterling No. 1-H lateral well bore and

hydrocarbon reserves, the additional drilling costs incurred following the drill pipe separation,

and the total loss of the drill bit, bottom-hole assembly, and other rental equipment lost down

hole all of which damages were legally caused by the drill pipe failure and Defendant Knight Oil

Tools' violations of the Texas Deceptive Trade Practices Act.

                                                IX.

                                      GROSS NEGLIGENCE

        Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

"Factual Summary" and Paragraph V under "Negligence and Negligent Misrepresentation."

        Plaintiffs would further show that the conduct of Defendants when viewed objectively

from Defendants' stand point at the time of the conduct, involved an extreme degree of risk,

considering the probability and magnitude ofthe potential harm to others, and Defendants were

actually, subjectively aware of the risk involved, but nevertheless proceeding with conscious

indifference to the rights, safety, or welfare of others. As a result of Defendants' gross

negligence, Plaintiffs are entitled to punitive and/or exemplary damages pursuant to Chapter 41

of the Texas Civil Practice &Remedies Code. Moreover, exemplary damages are not capped in

this case as Defendant Knight Oil Tools violated § 41.008(c)(11) ofthe Texas Civil Practice &

Remedies Code and § 32.46 of the Texas Penal Code by securing execution of a document by

deception.




                                                 17




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 17 of 27
                                                 /~

                                    BREACH OF CONTRACT

       Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

"Factual Summary." In the alternative, and without waiving the causes of action plead above in

Paragraphs V, VI, VII, VIII, and IX, Plaintiffs would assert that Defendant Knight Oil Tools and

Defendant Pioneer Drilling agreed to provide certain drilling goods and/or services, including the

supplying of drill pipe represented to be API inspected and API Premium Class drill pipe. The

drill pipe in question failed under normal and customary drilling activity within the represented

capacity of API Premium Class drill pipe. Defendants knew that Plaintiffs were relying on

Defendants' skill or judgment to properly select, inspect, label, represent, and deliver drill pipe

fit for the intended purpose. Defendants selected, inspected, labeled, delivered, represented, and

utilized drill pipe that was not API inspected; was not API Premium Class; was misrepresented

as double white band with one center punch mark when in fact it had undersized O.D. and I.D.

tool joints, that also exceeded the maximum I.D. for API Premium Class pipe and was so

excessively worn, corroded, pitted, and cracked that the drill pipe was unfit for use in horizontal

drilling and should never have been marked with one center punch mark and painted as double

white band API Premium Class drill pipe and delivered to the Easterling well-site. Defendants

breached its agreement with Plaintiffs. As a proximate cause of said breach, Plaintiffs have been

damaged in excess of the minimum jurisdictional limits of this Court including: cash market

value damages for destruction ofthat portion of the Easterling No. 1-H well which is the market

value of the well less any salvage value, because reproducing that portion ofthe well is

impossible and the cost would exceed its value due to the irreparable damage occasioned to that


                                                  18




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 18 of 27
portion of the well. In the alternative, should the trier of fact find that the Easterling No. 1-H well

could be reproduced, Plaintiffs are entitled to recover the reasonable and necessary cost to

reproduce the Easterling No. 1-H well. Additionally, Defendants' breach of contract proximately

caused direct and/or consequential damages including the loss of the Easterling No. 1-H lateral

well bore and hydrocarbon reserves, the additional drilling costs incurred following the drill pipe

separation, and the total loss ofthe drill bit, bottom-hole assembly, and other rental equipment

lost down hole all of which damages were legally caused by the drill pipe failure and Defendant

Knight Oil Tools' breach of contract.

                                                  XI.

                                                '~~~

        Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

"Factual Summary" and Paragraphs VII, VIII, and IX. Defendant Knight Oil Tools made false

representations by representing that the drill pipe was API inspected and by classifying the drill

pipe in question as API Premium Class. Moreover, Defendant Knight Oil Tools fraudulently

represented the drill pipe was API Premium Class by use of one center punch mark and double

white bands only on each joint drill pipe delivered to the Easterling No. 1-H well site

accompanied by a false inspection report when in fact the drill pipe in question was not API

Premium Class and could not be classified as API Premium Class. These representations were

material and false in that had the drill pipe been properly inspected and marked it would not have

been classified API premium and marked with one center punch mark and painted with a double

white band only. When Defendant, Knight Oil Tools, made this representation, they knew the

representation was false or made the representation recklessly, as a positive assertion, without


                                                   19




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 19 of 27
knowledge of its truth. Likewise, Defendant Knight Oil Tools made the representation with the

intent that Plaintiffs act on it. Plaintiffs relied on the representations to their detriment in that

had the drill pipe in question been properly inspected and classified it would not have been

marked with one center punch mark and double white bands only or otherwise accompanied by a

false inspection report and would not have been used in the drilling of Plaintiffs' well. As a

proximate cause of Defendants' fraud, Plaintiffs have been damaged in excess ofthe minimal

jurisdictional limits of this Court including: cash market value damages for destruction of that

portion of the Easterling No. 1-H well which is the market value of the well less any salvage

value, because reproducing that portion of the well is impossible and the cost would exceed its

value due to the irreparable damage occasioned to that portion ofthe well. In the alternative,

should the trier of fact find that the Easterling No. 1-H well could be reproduced, Plaintiffs are

entitled to recover the reasonable and necessary cost to reproduce the Easterling No. 1-H well.

Additionally, Defendants' fraud proximately caused direct and/or consequential damages

including the loss of the Easterling No. 1-H lateral well bore and hydrocarbon reserves, the

additional drilling costs incurred following the drill pipe separation, and the total loss ofthe drill

bit, bottom-hole assembly, and other rental equipment lost down hole all of which damages were

legally caused by the drill pipe failure and Defendant Knight Oil Tools' fraud.

                                                   XII.

                        AIDING AND ABETTING CIVIL CONSPIRACY

            CONCERT OF ACTION SPOLIATION AND SUCCESSOR LIABILITY

        Defendant Knight Oil Tools, and its employees, agents, and representatives had a duty to

exercise reasonable care and judgment in its inspection of the drill pipe in question to ensure it




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 20 of 27
complied with API specifications including API Recommended Practice 7G or 7G-2 or other

applicable industry guidelines for certifying API Premium Class drill pipe that would be safe,

suitable or fit for the use as intended. Defendant Knight Oil Tools failed to exercise reasonable

care and judgment in the selection, assessment, evaluation, inspection, and representations ofthe

condition of the drill pipe in question. As a result, Defendant Knight Oil Tools delivered

excessively worn, corroded, pitted, and cracked drill pipe that was negligently, falsely,

fraudulently, and/or deceptively marked as API Premium Class drill pipe when it was not API

Premium Class and should have never been delivered to the Easterling No. 1-H drill site.

Moreover, Defendant Knight Oil Tools measured and recorded minimum O.D .numbers on

numerous joints of drill pipe including the joint of drill pipe that failed which did not meet O.D.

minimums or I.D. maximums for tool joints required by API Premium Class certification and

industry standards. Further, had Defendant Knight Oil Tools properly performed a standard API

Recommended Practice 7G or 7G-2 inspection, the drill pipe that failed would not have been

classified as API Premium Class, would have been accompanied by proper inspection papers

instead of the false inspection report that was delivered, and would not have been used in the

Easterling No. 1-H well. Despite failing to perform the API recommended practice 7G or 7G-2

inspection, Robinson Tubular Services, Defendant Knight Oil Tools' wholly owned, controlled,

and supervised in-house inspection service, which was not an independent third party inspection

service, with Defendant Knight Oil Tools knowledge, approval, and ratification, nevertheless,

placed one center punch mark on pin upset and painted double white bands on the drill pipe in

question representing to all foreseeable users that the drill pipe was API Premium Class when it

was not. Plaintiffs believe that Defendant Knight Oil Tools and its wholly owned, controlled, and


                                                 21




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 21 of 27
supervised in-house inspection service Robinson Tubular Services, a Knight Oil Tools company,

which was merged into Knight Oil Tools LLC in Apri12011, entered into an agreement to

misrepresent a mixed string of different weight, worn out, corroded, pitted, and cracked drill

pipe, as API inspected, API Premium Class, utilizing one center punch mark and double white

bands only, when in fact the drill pipe in question was not fit to be classified as API Premium

Class, double white banded drill pipe. Following its failure, Defendant Knight Oil Tools has

conspired to cover up the evidence that the drill pipe in question was not API inspected, API

Premium Class, double white banded drill pipe. Accordingly, Defendant Knight Oil Tools is

responsible for the acts of the others including Knight Oil Tools wholly owned, controlled, and

supervised in-house inspection service Robinson Tubular Services, a Knight company, that were

done in the furtherance of the common purpose to cover up the misrepresentation of the drill pipe

in question.

        Moreover, such conduct constitutes spoliation and Plaintiffs would request an appropriate

spoliation instruction at the time this case is submitted to the jury.

        Subsequent to the drill pipe failure and filing of this suit, Knight Oil Tools Inc. and

Robinson Tubular Services Inc. were merged into Knight Oil Tools LLC which assumed the

liabilities. and obligations of Knight Oil Tools Inc. and Robinson Tubular Services Inc. Knight

Oil Tools Inc., now Knight Oil Tools LLC,is the named insured on the policies of liability

insurance produced by Defendant Knight Oil Tools in this case in response to Request for

Disclosures.




                                                  22




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 22 of 27
                                                XIII.

                                            DAMAGES

       Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

"Factual Summary," and the causes of action asserted in Paragraphs V, VI, VII, VIII, IX, X,XI,

and XII.

       As a result of Defendants' strict liability/ product liability, breach of warranty,

negligence, negligent misrepresentation, violations of the Texas Deceptive Practices Act, gross

negligence, breach of contract, and fraud as set out in Paragraphs V through XII, Plaintiffs have

suffered damages in excess of the minimal jurisdictional limits of this Court to include:

       a.      General damages;

       b.      Special damages;

       c.      Actual damages;

       d.      Incidental and consequential damages;

       e.      Cash-market value of the Easterling No. 1-H well and hydrocarbon reserves;

       f.      Out-of-pocket damages including the loss of the Easterling No. 1-H lateral well
               bore and the cost of the drill bit, bottom-hole assembly, and other rental
               equipment damaged, lost, and/or destroyed down hole;

       g.      Loss of use damages;

       h.      Mitigation damages including the cost to attempt to fish the drill pipe that
               separated along with the drill pipe string, bottom-hole assembly, and drill bit;

               Loss profits;

       j.      Repair and/or replacement damages;




                                                 23




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 23 of 27
       k.      Damages to the Easterling No. 1-H well lease and/or loss of reservoir and/or
               reservoir damage and lost hydrocarbon reserves; or in the alternative, the cost to
               reproduce the Easterling No. 1-H well;

               Additional or treble damages permitted under the Texas Deceptive Treble
               Practices Act;

       m.      Punitive and/or exemplary damages as allowed by law;

       n.      Reasonable and necessary attorneys' fees and costs through trial and on appeal;

       o.      Prejudgment interest and postjudgment interest as permitted by law; and

       p.      Taxable court costs.



                                      ATTORNEYS'FEES

       This is the type of action against Defendant Knight Oil Tools that gives rise to attorneys'

fees and, therefore, Plaintiffs would further show that it was necessary to employ the services of

The Krist Law Firm, P.C. and the firm of Tekell, Book, Allen &Morris, L.L.P. and specifically,

Ronald D. Krist and Mike Morris, in order to assert their claim again Defendants. Accordingly,

Plaintiffs seek to recover attorneys' fees, expenses, and costs pursuant to Tex. Civ. Prac. &Rem.

Code. §38.001 and Section 17.50(d) ofthe Texas Deceptive Trade Practices Act to prosecute this

matter to conclusion through trial and on appeal.



                                  CONDITIONS PRECEDENT

       Pursuant to Texas Rule of Civil Procedure 54, Plaintiffs aver generally that all conditions

precedent have been performed or have occurred.




                                                24




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 24 of 27
                                                 XVI.

                                    SELF-AUTHENTICATION

       Pursuant to Texas Rule of Civil Procedure 193.7, Plaintiffs hereby give actual written

notice that all documents produced in this litigation shall be used by the Plaintiffs at pre-trial

proceedings and trial. Hence, all documents produced in this litigation are deemed self-

authenticating for use in any pre-trial proceeding or at trial; and any objections thereto by the

Defendants shall be in writing or placed on the record, giving Plaintiffs a reasonable opportunity

to establish the challenged documents authenticity.

                                                XVII.

                                   RESERVATION OF RIGHTS

       Plaintiffs fully reserve the right to amend or supplement this petition to add additional

causes of action, parties and/or claims as discovery continues.

                                                XVIII.

                               MONETARY RELIEF REQUESTED

       Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs seek monetary relief

over $1,000,000. Plaintiffs would state that the actual, exemplary, and/or additional damages

awarded Plaintiffs are within the sound discretion of the trier offact. Pursuant to Defendants

special exceptions and request under Texas Rule of Civil Procedure 47(d), Plaintiffs seek a

maximum amount of direct and consequential economic and actual damages, excluding pre-

judgment and postjudgment interest, attorneys' fees and costs, not to exceed $11,239,642;

additional damages not to exceed three times the amount of economic damages found; and/or




                                                  25




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 25 of 27
exemplary damages to be awarded as a penalty or by way of punishment, in the discretion of the

jury not to exceed $30,000,000.

                                                XIX.

                                         JURY REQUEST

       Plaintiffs request a jury trial ofthis matter and have accordingly paid the proper fee with

the filing of Plaintiffs' Original Petition and continue to demand a jury trial pursuant to Texas

Rule of Civil Procedure 216.

                                                 XX.



        WHEREFORE,PREMISES CONSIDERED,Plaintiffs request that Defendants be cited

to appear and answer, and that on final trial, Plaintiffs have:

       (1)     judgment against Defendants for all direct and consequential economic and actual
               damages, exemplary damages, and/or additional damages in a sum in excess of
               the minium the jurisdictional limits of this Court;

       (2)     prejudgment and postjudgment interest at the maximum rate permitted by law;

       (3)     costs of court;

       (4)     attorneys' fees and expenses litigation through trial and on appeal; and

       (5)     such other and further relief to which Plaintiffs may be justly entitled.


                                               Respectfully Submitted,

                                               THE KRIST LAW FIRM,P.C.


                                               BY:
                                                       RONALD D. KRIST
                                                       State Bar No. 117270


                                                 26




    17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 26 of 27
                                          Marina View Building
                                          2600 South Shore Blvd., Suite 120
                                          League City, Texas 77573
                                          (281)283-8500
                                          (281)488-3489 -Fax

                                   TEKELL,BOOK,ALLEN &MORRIS,L.L.P.




                                                    r
                                                        -
                                   BY:
                                          MIKE MORRIS
                                          State Bar No. 14495800
                                          1221 McKinney, Suite 4300
                                          Houston, Texas 77010-2010
                                          (713)222-9542
                                          (713)655-7727 -Fax

                                   ATTORNEYS FOR PLAINTIFFS, RIPPY OIL
                                   COMPANY,RIPPY INTEREST LLC,THE
                                   GENECOV GROUP,INC., and JOHN PROCTER




                                     27




17-51014 - #357-1 File 09/28/17 Enter 09/28/17 12:36:12 Exhibit A Pg 27 of 27
